                                              Case 2:10-cv-02096-GMN-LRL Document 37 Filed 08/01/11 Page 1 of 2




                                       1   SAO
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                                       2   Nevada Bar No. 7374
                                           MARTIN A. MUCKLEROY, ESQ.
                                       3
                                           Nevada Bar No. 9634
                                       4   COOKSEY, TOOLEN, GAGE, DUFFY & WOOG
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                                           Las Vegas, Nevada 89169
                                       6   Telephone: (702) 949-3100
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                                       7

                                       8   Attorneys for Plaintiff Douglas Church

                                       9                               UNITED STATES DISTRICT COURT
                                                                            DISTRICT OF NEVADA
                                      10
COOKSEY, TOOLEN, GAGE, DUFFY & WOOG




                                           DOUGLAS CHURCH, Individually and on            :
                                      11                                                       Case No. 2:10-cv-02096
                                           Behalf of All Others Similarly Situated,       :
                                      12
                                                                  Plaintiff,              :
                                      13                                                       STIPULATION AND ORDER
                                                    vs.                                   :    TO CONTINUE AUGUST 2nd , 2011
                                      14                                                       STATUS CONFERENCE
                                                                                          :
                                      15   AIRTRAN HOLDINGS, INC., ROBERT L.
                                           FORNARO, J. VERONICA BIGGINS, DON L.           :
                                      16   CHAPMAN, GEOFFREY T. CROWLEY, G.
                                           PETER D’ALOIA, JERE A. DRUMMOND,               :
                                      17   JOHN F. FIEDLER, MICHAEL P. JACKSON,
                                           LEWIS H. JORDAN, ALEXIS P. MICHAS,             :
                                      18
                                           SOUTHWEST AIRLINES CO., and
                                                                                          :
                                      19   GUADALUPE HOLDINGS CORP.,
                                                                                          :
                                      20                          Defendants.
                                                                                          :
                                      21

                                      22            Plaintiff DOUGLAS CHURCH and Defendants AIRTRAN HOLDINGS, INC., ROBERT L.
                                      23   FORNARO, J. VERONICA BIGGINS, DON L. CHAPMAN, GEOFFREY T. CROWLEY, G.
                                      24   PETER D’ALOIA, JERE A. DRUMMOND, JOHN F. FIEDLER, MICHAEL P. JACKSON,
                                      25   LEWIS H. JORDAN, ALEXIS P. MICHAS, SOUTHWEST AIRLINES CO., and GUADALUPE
                                      26   HOLDINGS CORP. (collectively “Defendants”) by and through their attorneys of record, stipulate
                                      27   and agree to continue the currently scheduled August 2nd, 2011 Status Conference for 1 week at a
                                      28

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                                              Case 2:10-cv-02096-GMN-LRL Document 37 Filed 08/01/11 Page 2 of 2




                                       1   date convenient to the Court. A settlement has been approved by the State Court in the related

                                       2   Nevada State Court case of Leonolli v. AirTran Holdings, Inc. et al, Case No. 10-OC-00448-1B but

                                       3   the issue of attorneys’ fees is pending before the Court and it should be resolved within the next

                                       4   week. It is anticipated that upon final resolution of the State Court matter, the action before this

                                       5   Court will be dismissed.

                                       6

                                       7   Dated: July 29th, 2011.
                                       8    MAUPIN, COX & LEGOY                              COOKSEY, TOOLEN, GAGE, DUFFY &
                                                                                             WOOG
                                       9
                                            By:    /s/ Donald A. Lattin                      By: /s/ Martin A. Muckleroy
                                      10    Donald A. Lattin                                 Martin A. Muckleroy
COOKSEY, TOOLEN, GAGE, DUFFY & WOOG




                                      11    4785 Caughlin Pkwy                               3930 Howard Hughes Parkway, Ste. 200
                                            Reno, NV 89519                                   Las Vegas, NV 89169
                                      12
                                            -and-                                            -and-
                                      13
                                            HOGAN LOVELLS US LLP                                FARUQI & FARUQI, LLP
                                      14    Sanford M. Litvack, Esq.                            Vahn Alexander, Esq.
                                            Tracey A. Tiska, Esq.                               1901 Avenue of the Stars
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                                      17    Attorneys for Defendants, Airtran Holdings,      Attorneys for Plaintiff
                                            Inc., Robert L. Fornaro, J. Veronica Biggins,
                                      18    Don L. Chapman, Geoffrey T. Crowley, G.
                                      19    Peter D’Aloia, Jere A. Drummond, John F.
                                            Fiedler, Michael P. Jackson, Lewis H. Jordan,
                                      20    and Alexis P. Michas
                                                                                                                ORDER
                                                                                                  New Status Conference Date: 8/12/2011, 9:30am.
                                      21
                                                                                                  IT IS SO ORDERED this 29th day of
                                      22    BROWNSTEIN HYATT FARBER                               July, 2011.
                                            SCHRECK LLP
                                      23

                                      24    By:     /s/ Jeffrey S. Rugg
                                            Jeffrey S. Rugg                                       _______________________________
                                      25    100 North City Parkway                                Gloria M. Navarro
                                            Suite 1600                                            United States District Judge
                                      26    Las Vegas, NV 89106
                                      27    Attorneys for Defendants, Southwest Airlines
                                      28    Co., and Guadalupe Holdings Corp.

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